






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00571-CV






City of Garland, Texas, Appellant


v.


Public Utility Commission of Texas, Appellee






DIRECT APPEAL FROM THE PUBLIC UTILITY COMMISSION OF TEXAS



								

O R D E R


		

		The Public Utility Commission has filed an unopposed motion to modify this Court's
order of stay signed September 29, 2006.  By that order, this Court stated: "The implementation of
the disclosure provisions of 16 Texas Administrative Code § 25.505(f)(3) are stayed pending further
order of this Court."  The Commission requests that we lift the stay regarding two disclosure
provisions contained in that regulation.  We grant the motion and lift the stay as to the following
disclosure provisions of 16 Texas Administrative Code section 25.505(f)(3):

	

	(A) During the operation of the market under a zonal market design:

		

		(i) . . . for the highest-priced offer selected or dispatched by ERCOT
for each interval, ERCOT shall post the offer price and the name of
the entity submitting the offer 48 hours after the day for which the
information is accumulated.  In the event of interzonal congestion,
ERCOT shall post, separately for each zone, the offer price and the
name of the entity submitting the highest-priced offer selected or
dispatched. 


	. . . .

	


	(B) Two months after the start of operation of the market under a nodal
market design: 

			(i) . . . for the highest-priced offer selected or dispatched for each
interval on an ERCOT-wide basis, ERCOT shall post the offer
price and the name of the entity submitting the offer 48 hours after
the day for which the information is accumulated. 


	

16 Tex. Admin. Code § 25.505(f)(3)


		Ordered January 12, 2007.





					



						                                                                           &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

						G. Alan Waldrop, Justice


Before Justices Puryear, Pemberton and Waldrop


